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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION


  JANE DOE,
                                                Case No: 2:14-cv-11917
                       Plaintiff,
                                                Hon. Arthur J. Tarnow
  v.

  NUCCIO PROCESSING, INC.
  and ANTONIO NUCCIO,

                 Defendants.
  _____________________________________________________________

                               STIPULATED ORDER

         THIS MATTER having come before the Court by way of the parties’

  stipulation below, Plaintiff’s Motion for Pseudonymous Status, and the

  Court being otherwise advised, orders as follows:

         IT IS HEREBY ORDERED plaintiff proceed under pseudonymous

  status in public filings.

         IT IS HEREBY FURTHER ORDERED that the parties shall not

  disclose the identity of Plaintiff on any filings with the Court through the

  ECF System or other means available to the general public. The parties are

  ordered to file any documents in this case with the identity of Plaintiff or her

  immediate family redacted to avoid disclosure of the identity of Plaintiff to

  the general public.         Any previously filed documents with identifying
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  information shall be replaced by redacted versions.

        Nothing in this order requires that any person, party, attorney, or

  witness must use plaintiff’s initials rather than her full name during any

  hearing, deposition, or other testimony.

        Nothing in this stipulation precludes defendants from filing a motion

  to challenge this protective order in the future.

        IT IS SO ORDERED.


  Dated: February 26, 2015         s/Arthur J. Tarnow
                                   United States District Court Judge

                                 STIPULATION


        The parties, by and through their respective attorneys, stipulate to the

  entry of this order.

  Respectfully submitted,

  NACHT, ROUMEL, SALVATORE,
  BLANCHARD & WALKER, P.C.

  /s/ David M. Blanchard                         /s/ “with consent of” Thomas M. Loeb
  David M. Blanchard (P67190)                    Thomas M. Loeb (P25913)
  Attorney for Plaintiff                         Attorney for Defendants
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  Dated: February 25, 2015

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